           Case: 22-3059     Document: 7            Filed: 06/01/2023   Pages: 2




                United States Court of Appeals
                                For the Seventh Circuit
                                Chicago, Illinois 60604

                                       June 1, 2023

                                           Before

                       FRANK H. EASTERBROOK, Circuit Judge


No. 22-3059

KARL W. NICHOLS,                                Appeal from the United States District
     Petitioner-Appellant,                      Court for the Western District of
                                                Wisconsin.
      v.
                                                No. 18-cv-829-wmc
LANCE WIERSMA,
    Respondent-Appellee.                        William M. Conley,
                                                Judge.

                                       ORDER

       The district court denied Karl Nichols’s petition for a writ of habeas corpus
under 28 U.S.C. § 2254. After reviewing the district court’s final order and the record on
appeal, we find that reasonable jurists could debate two issues: whether the state
violated the Constitution by failing to turn over before or during trial a written list of
corrections that a child witness had made regarding her statements at a forensic sexual
assault interview; and whether any procedural default with respect to that issue is
excused by ineffective assistance of counsel.

       Accordingly, we GRANT Nichols’s request for a certificate of appealability.
See 28 U.S.C. § 2253(c). If counsel for petitioner-appellant is seeking appointment under
the provisions of the Criminal Justice Act, he should file an appropriate motion.

      Briefing shall proceed as follows:

      1. Petitioner-appellant shall file his brief and required short appendix on or
         before July 3, 2023.
        Case: 22-3059       Document: 7           Filed: 06/01/2023     Pages: 2


No. 22-3059                                                                         Page 2



      2. Respondent-appellee shall file his brief on or before August 2, 2023.

      3. Petitioner-appellant shall file his reply brief, if any, on or before August 23,
         2023.
